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DJF:RDE:NJ

                    UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 LEA E. RUTHERFORD, ET AL.
                                                  Civil No. 1:18-CV-1261
                               PLAINTIFFS,

                          v.
                                                  (Judge Rambo)
 UNITED STATES OF AMERICA,
                                                  (Filed Electronically)
                               DEFENDANT.

                               STIPULATION OF DISMISSAL

       Plaintiffs Lea and Harvey Rutherford, and defendant United States of America,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and the Stipulation for

Compromise Settlement and Release entered into by the parties, hereby stipulate to the

dismissal of all claims in the above-captioned action with prejudice.

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Dated: April 10, 2020
